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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 UNITED STATES OF AMERICA, ex rel.                   )
 AS CORP INC.,                                       )
                                                     )
                                                          No. 21 C 2363
                                 Plaintiff,          )
                                                     )
                                                          Chief Judge Pallmeyer
                        v.                           )
                                                     )
                                                          FILED IN CAMERA AND UNDER
 COMPASS SPECIALTY INSURANCE                         )
                                                          SEAL
 RRG INC.,                                           )
                                                     )
                                 Defendants.         )

                                               ORDER

         The United States having declined to intervene in this action pursuant to the False Claims

Act, 31 U.S.C. § 3730(b)(4)(B), the court rules as follows:

         IT IS HEREBY ORDERED that,

         1.     the complaint be unsealed and served upon the defendant by the relator;

         2.     all other contents of the court’s file in this action remain under seal and not be made

public or served upon the defendant, except for this order and the United States’ notice of election

to decline intervention, which the relator will serve upon the defendant only after service of the

complaint;

         3.     the seal be lifted as to all other matters occurring in this action after the date of this

Order;

         4.     the parties shall serve all pleadings and motions filed in this action, including

supporting memoranda, upon the United States, as provided for in 31 U.S.C. § 3730(c)(3). The

United States may order any deposition transcripts and is entitled to intervene in this action, for

good cause, at any time;
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       5.      the parties shall serve all notices of appeal upon the United States;

       6.      all orders of this court shall be sent to the United States; and that

       7.      should the relator or the defendant propose that this action be dismissed, settled, or

otherwise discontinued, the court will solicit the written consent of the United States before ruling

or granting its approval.



                               E N T E R:

                                                       United States District Judge
                                                       Hon. Rebecca Pallmeyer, Chief


Dated: August 16, 2021




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